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                         IN THE UNITED STATES DISTRICT COURT

                                       DISTRICT OF UTAH


 UNITED STATES OF AMERICA,
                                                        Case No. 2:19-cr-00164
                       Plaintiff,
                                                        UNITED STATES SENTENCING
        vs.                                             MEMORANDUM

 GAYLEN DEAN RUST,                                      Judge Ted Stewart

                       Defendant.


                We suffer alone and hope that somehow justice will be served and
                Gaylen will pay for what he has done.
                --Victim impact statement

        Judge Dee Benson always said that Utahns have a lot to be proud of—an incredible

 heritage, beautiful mountains, terrific skiing, caring and close-knit communities—but Utah’s

 fraud problem is an embarrassment. The Rust Rare Coin Ponzi scheme is another chapter in

 that regrettable, embarrassing story. At its center is Gaylen Rust, who joins the ranks of

 notorious Utah fraudsters.   His conduct merits, and the United States recommends, the Court

 order: (1) Gaylen Rust to serve a term of incarceration of 19 years; (2) a restitution judgement of

 $153,073,328.32 payable to the 568 victims in this case, to be joint and several with convicted

 co-defendants; (3) a forfeiture money judgement in the same amount as restitution; and (4) leave

 for the United States to dismiss, only as against Gaylen Rust, Count 3 of the Indictment.
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                     I.    GUIDELINE CALCULATION BY THE UNITED STATES

            The Supreme Court has declared that, in determining an appropriate sentence, “[a]s a

 matter of administration and to secure nationwide consistency, the Guidelines should be the

 starting point and the initial benchmark.” 1 The United States calculates the defendant’s

 guidelines as follows:

 Count 1: 18 U.S.C. § 1349 (Wire Fraud Conspiracy):
        § 2B1.1(a)(1) Base Offense Level                                              +7
        § 2B1.1(b)(1)(N) Loss amount: >$150,000,000                                   +26
        § 2B1.1(b)(2)(C) Substantial Hardship >25 Victims                             +6

 Count 2: 18 U.S.C. § 1956(h) (Money Laundering Conspiracy):
        § 2S1.1(a) Base Offense Level                                                 +7
        § 2B1.1(b)(1)(N) Loss amount: >$150,000,000                                   +26
        § 2B1.1(b)(2)(C) Substantial Hardship >25 Victims                             +6
        § 2S1.1(b)(2)(B) Convicted of 18 U.S.C. § 1956                                +2

 Count 4: 15 U.S.C. §§ 78j(b), 78ff, and 17 C.F.R. § 240.10b-5 (Securities Fraud):
        § 2B1.1(a)(1) Base Offense Level                           +7
        § 2B1.1(b)(1)(N) Loss amount: >$150,000,000                +26
        § 2B1.1(b)(2)(C) Substantial Hardship >25 Victims          +6

 Grouping § 3D1.2, 3D1.4 = 1 Unit
 Acceptance of Responsibility § 3E1.1(a)-(b) = -3
 Total Offense Level = 38
 Criminal History Category I = 235 to 293 Months

     II.     18 U.S.C. § 3553 FACTORS SUPPORTING THE RECOMMENDED SENTENCE

            “In sentencing defendants, district courts exercise a guided discretion within a range

 specified by Congress. As Justice Cardozo wrote, a ‘judge … is to exercise discretion informed

 by tradition, methodized by analogy, disciplined by system, and subordinated to the primordial

 necessity of order in the social life.’” 2 Under USSG § 6A1.3, “[i]n determining the relevant facts,



 1
     Gall v. United States, 552 U.S. 38, 49 (2007).
 2
     United States v. Smart, 518 F.3d 800, 809 (10th Cir. 2008) (citation omitted).

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 sentencing judges are not restricted to information that would be admissible at trial. Any

 information may be considered, so long as it has sufficient indicia of reliability to support its

 probable accuracy.” 3

            18 U.S.C. § 3553 provides a sentencing judge with the statutory framework to exercise

 discretion when fashioning an appropriate sentence. The § 3553 factors the Court is to consider

 in imposing a particular sentence support the recommended sentence in this case:

 1. Nature and circumstances of the offense:

            This was an insidious crime. Hundreds of people gave millions of dollars to Rust Rare

 Coin for more than two decades as part of the “silver trading program” investment offering, and

 now they have lost everything. On May 8, 2019, a federal grand jury returned an indictment

 against Gaylen Rust (“Rust”), alleging that he engaged in both a Wire Fraud conspiracy and a

 Money Laundering conspiracy that began in 1996 and continued until law enforcement

 intervened on November 15, 2018. In colloquial terms, Rust conspired to operate a Ponzi

 scheme causing well over approximately $150 million in losses to over 500 victims.

            Rust targeted family, friends, and fellow church members to invest in his “lucrative”

 silver trading program that involved the buying and selling actual physical silver bullion.

 However, forensic accounting proves that virtually all investor funds were diverted to unrelated

 failing businesses, to personal uses, and to make payments to other investors. For example,

 investor funds were used to fund unprofitable music recording studios and an online music

 tutorial video database referred to by the coconspirators as the “Musician's Toolkit”. Rust also

 used investor funds to pay mistresses for their companionship and to buy expensive



 3
     See United States v. Pawelski, 651 Fed. Appx 750, 780 (10th Cir. June 2, 2016) (unpublished)

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 thoroughbred racehorses that were entered into the Kentucky Derby.

        The depth of Rust’s shameless deception is chilling. A victim reported that Rust went so

 far as to attend the funeral of a victim’s family member. Another reported that, days after her

 husband died, Rust fraudulently convinced this grieving widow in his office, along with her son

 and daughter to invest her savings and their inheritance in his supposedly wonderful investment

 opportunity. Another victim reported that Rust stole all of the money that was to be used to care

 for the victim’s father who is in a rest home with Alzheimer’s/dementia.

        Rust financially destroyed the lives of his victims and indirectly damaged thousands more

 to feed his ego-driven facade. The victims in this case are humiliated, violated, and financially

 devastated. Many victims are beyond their financially productive years and had already retired

 or were headed for retirement—a fact Rust knew well. At Rust’s brazen recommendation,

 many victims mortgaged their homes and leveraged retirement accounts to obtain the returns

 Rust promised. Some of the losses sustained by victims in this case represent decades of hard

 work—blood, sweat, and tears—all ripped away. Many are now coming to terms with the fact

 that their lifetime of effort and saving has evaporated. They have lost homes, farms, comfort,

 and security. One victim stated, “We have shed tears, struggled with stress, worry, confusion,

 disappointment, fear and betrayal.” Another victim reported, “The loss of my life’s savings,

 basically everything I have worked and saved over nearly 75 years all gone, has caused

 emotional, physical, economic, and health stress beyond my abilities, almost, to endure.”

        Everyone is left with an unanswered question: How could someone do something so

 despicable? Those guided by conscience cannot comprehend how someone could financially

 betray a loved one, a dear friend, or a family member. Conceptually, most people can

 understand the motivation behind a Ponzi scheme. But when confronted in real life, the moral

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 depravity required to carry out such a scheme is so alien, most will fail to perceive it even as a

 remote possibility. Rust preyed on this natural blind spot and like most confidence men, he

 deployed his prodigious ability to manipulate and persuade in indefatigable pursuit of his fraud.

         In imposing sentence, the Court should consider the lives devastated by Rust’s scheme.

 Many of Rust’s victims now face significant personal family challenges. All combined, his

 victims have lost $153 million—money that should have been dedicated to life’s various

 particulars and worthwhile endeavors. The Court should be mindful of the opportunities,

 dreams, hopes, goals, and aspirations that Rust’s fraud has obliterated from society. Rust’s

 fraud will affect his victims for the rest of their lives and will impact their families for

 generations.

 2. History and characteristics of the defendant:

         Gaylen Rust is a prodigious, shameless liar who brought about the complete financial

 ruin of hundreds of victims.    Rust has no criminal history, but for decades lied to his victims.

 His lies were remorseless and relentless. He was not trading silver, and he had no way to

 generate returns. He stole from schoolteachers, police officers, homemakers, accountants,

 active-duty military members, farmers, widows, etc. Rust sat face to face with frugal,

 hardworking, trusting, and kind people, and he told and retold his fantastical lies. He looked

 into the eyes of his friends and family and lied to steal their money and lied to keep their money.

 He stole from them one by one, day by day, for decades. His fraud took sustained effort,

 deliberation, and planning.

         Rust’s motivation appears to have been ego and greed. He set himself up as a faithful,

 church-going man. He pretended to be a philanthropist, and a pillar of the business community.

 He promised some investors, including those who had just lost loved ones, that his program

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 would help them in their darkest financial times. He apparently loved the adulation and respect

 that came as a result. But it was all a lie. He was running a massive Ponzi scheme, funding

 self-aggrandizing vanity projects, and lining the pockets of his mistresses. He even tried to keep

 up his façade of piety on the night that law enforcement searched his businesses. That night, on

 November 15, 2018, he tried to rationalize and justify what he had done. He told the court-

 appointed receiver that the reason he did what he did with investor funds was to reduce teen

 suicide. Rust said that Musician’s Toolkit (one of his vanity projects) was a mechanism to get

 kids involved with music, which would help prevent them from committing suicide. With a

 complete lack of empathy for his victims, Rust told the receiver that me may go to jail for what

 he has done, but that he would do it all again. An objective assessment of defendant’s history

 and characteristics supports the United States’ sentencing recommendation.

 3. The need for the sentence (A) to reflect the seriousness of the offense, to promote respect
    for the law, and to provide just punishment for the offense; (B) to afford adequate
    deterrence; (C) to protect the public from further crimes of the defendant; and (D) to
    provide defendant with appropriate vocational training, medical care, or other correctional
    treatment in the most effective manner:

        The recommended sentence reflects the seriousness of the offense, provides just

 punishment, promotes respect for the law, and affords adequate deterrence (both specific and

 general) while at the same time recognizing Rust’s guilty plea. Part of a just punishment is to

 leave no doubt in the mind of the defendant, the victims, and third-party observers that the Court

 has fully considered the gravity of the criminal conduct and reacted accordingly.

        Just Punishment and Seriousness of the Offense: The recommended sentence of 228

 months (19 years) will provide a just punishment for Rust and reflect the seriousness of his

 offense. This would be among the highest sentences handed down in for a white-collar case in

 Utah in recent memory. It ensures that Rust, who is in his early sixties, will remain in prison for

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 the remainder of his working life and beyond. The sentence is seven months below the

 guideline range. This small departure is justified by Rust’s post-indictment cooperation with the

 receiver and his counsel, helping them to unravel the financial web he had spun over the years of

 his fraud, saving time and money that will be used to compensate victims through the

 receivership.

          Specific Deterrence: Based on the extensiveness of the fraud, the United States submits

 that Rust is at a very high risk for recidivism. His past actions and character demonstrate that,

 given the chance, he will continue: he is unwilling to stop deceiving others, and adept at

 justifying to himself his deceitful conduct. A 19-year sentence is necessary to deter Rust from

 future crimes and to protect the public.

          General Deterrence: There is a particular need here in Utah to deter others from

 committing similar crimes. As this Court is aware, the state of Utah is known for being a

 hotbed of rampant fraud and white collar crime. 4 Salt Lake City has been named by the Wall

 Street Journal as the “Fraud Capital of America.” 5 Utah has suffered “a tsunami of Ponzi

 operations, pyramid schemes, mortgage and bank fraud and other financial crimes that helped

 propel Utah to infamous heights nationally.” 6 It has been reported that the loss figures in Utah

 fraud cases exceed many cases out of large metropolitan areas. 7 Such crime affects not just

 immediate victims, but generations of victims. Fraudsters often find success in Utah because


 4
   THE ECONOMIST, Affinity Fraud, Fleecing the flock: The big business of swindling people who trust you, January
 28, 2012 (“The state thought to have the most affinity fraud per head is Utah. . . .”); Byline: In Our Opinion for the
 Deseret News, Fraud Registry, DESERET MORNING NEWS, May 19, 2015 (“The new fraud registry is unique in the
 country, but so is the prominence of such crime in our community.”); Janice Peterson, Investment fraud rampant in
 Utah County, DAILY HERALD, Feb. 28, 2010.
 5
   Robert Brazell, Shyster Extraordinaire, DEEP CAPTURE, Dec. 29, 2015.
 6
   Tom Harvey, FBI agent has seen Utah through flood of fraud, THE SALT LAKE TRIBUNE, June 24, 2012.
 7
   Id. (quoting FBI S.A. James Malpede) (“The amount of fraud is so great that the FBI in Utah largely concentrates
 only on cases involving investments of $10 million or more.”)

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 “they appear to be good and honest people with an outgoing, attractive personality.” 8 It is

 estimated that white collar scams have cost thousands of Utah victims billions of dollars in

 recent years. 9 The FBI recently ranked Utah as one of the top five states for white-collar fraud

 in America. 10 Utah is the only state with a dedicated regional Securities Exchange Commission

 office that services no other location. Utah’s fraud epidemic has reached such significant

 proportions, state lawmakers adopted the nation’s first-ever white collar crime offender registry

 to include photos, names and aliases of Utah State’s fraudsters. 11

         Section 3553(a)(2)(B) requires the Court to impose a sentence that “affords adequate

 deterrence to criminal conduct.” When Congress enacted Section 3553(a), it noted the

 importance of general deterrence and specifically sought to curb judicial leniency in the context

 of economic crimes: “Major white collar criminals often are sentenced to small fines and little or

 no imprisonment. Unfortunately, this creates the impression that certain offenses are punishable

 only by a small fine that can be written off as a cost of doing business.” 12 This same goal is also

 reemphasized by the sentencing guidelines: “One of the central reasons for creating the

 sentencing guidelines was to ensure stiffer penalties for white-collar crimes and to eliminate

 disparities between white-collar sentences and sentences for other crimes.” 13 The Seventh

 Circuit likewise emphasized the need to resist judicial leniency toward white collar criminals:

                  It is natural for judges, drawn as they (as we) are from the middle or

 8
    Id.
 9
    Eric S. Peterson, Uncle Scam, SALT LAKE CITY WEEKLY, Dec. 9, 2010 (“In June, state and federal investigators
 announced that Utahns may have lost as much as $1.4 billion in fraud in 2009. ‘Utah is supposedly the fraud
 capital, and that's our urban folklore,’ [Salt Lake County Sheriff Jim] Winder says. ‘But whatever we've been doing
 here, it hasn't been hugely effective.’”)
 10
     See Ben Winslow, Feds, Utah Leaders Launch Campaign to Educate People about Fraud Problem, FOX13
 NEWS, available at http://fox13now.com/2017 /04/05/feds-utah-leaders-launch-campaign-to-educate-people-about-
 fraud-problem.
 11
     Wendy Leonard, White Collar Crime Registry First in Nation, DESERET MORNING NEWS, March 14, 2015.
 12
     62 S. Rep. No. 98-225, at 76 (1983), reprinted in 1984 U.S.S.C.A.N. 3182, 3259.
 13
     United States v. Davis, 537 F.3d 611, 617 (6th Cir. 2008).

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                  upper-middle class, to sympathize with criminals drawn from the
                  same class. But in this instance we must fight our nature.
                  Criminals who have the education and training that enables people
                  to make a decent living without resorting to crime are more rather
                  than less culpable than their desperately poor and deprived brethren
                  in crime. 14

         The Eleventh Circuit identified economic crime as a prime candidate for deterrence

 because it is “‘more rational, cool, and calculated than sudden crimes of passion or

 opportunity.’” 15 Specifically, the cost-benefit analysis engaged in by white collar defendants is

 susceptible to influence through “serious punishment.” 16

         This case represents the quintessential Utah fraud scheme. Likeminded fraudsters must

 be deterred through an expectation of just punishment should they follow Rust’s footsteps. A

 significant sentence is critical in this effort.

 4. The need to provide restitution to any victims of the offense:

         It is unlikely that Rust will ever be able to repay the full restitution amount due and

 owing to his victims. To achieve justice for the victims in this case who will likely never be

 made whole, a significant period of incarceration is appropriate in addition to the order of

 restitution. The mandatory restitution amount to be entered in this case is $153,073,328.32.

 The United States requests that the Court order the restitution payments to be made to the list of

 victims provided to Probation.

                     III.    RECOMMENDATION BY THE UNITED STATES

         Accordingly, the United States recommends a term of incarceration of 228 months




 14
    United States v. Stefonek, 179 F.3d 1030, 1038 (7th Cir.1999) (citation omitted).
 15
    United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006) (quoting Stephanos Bibas, White-Collar Plea
 Bargaining and Sentencing After Booker, 47 Wm. & Mary L. Rev. 721, 724 (2005)).
 16
    United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006).

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 followed by three years of supervised release. The United States also recommends the Court

 order $153,073,328.32 in restitution to be paid to the list of 568 victims provided to Probation.

 Finally, the United States recommends the Court should order a restitution payment plan of $500

 per month while the defendant is not in custody.

                     IV.     RECOMMENDED RELEASE CONDITIONS

        In addition to the conditions of supervised release recommended by Probation, the United

 States recommends the following:

        •   The defendant is to undergo mental health evaluation and complete any recommended
            treatment, as directed by the probation officer, and take any mental health medications
            as prescribed.

        •   The defendant shall not be employed in any fiduciary capacity or any position allowing
            access to credit or personal information of others.

                             V.     STATEMENT OF GOOD FAITH

        As required by DUCrimR 32-1(b) the United States has conferred in good faith with

 opposing counsel and with the probation office in an attempt to resolve any disputed matters.




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                                       VI.     CONCLUSION

        Rust ran an enormous Ponzi scheme and lied to his investors about how he would spend

 their money. His actions resulted in financial losses of over $153 million. Given these facts,

 the Court should impose a sentence consisting of 19 years (228 months) in prison, three years of

 supervised release, and an order restitution in the amount of $153,073,328.32. Such a sentence

 is sufficient, but not greater than necessary, to satisfy the 18 U.S.C. § 3553 factors.

                                                Respectfully submitted,

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